Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 1of19 Page ID #:3

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STROOCK & STROOCK & LAVAN LLP.
JULIA B. STRICKLAND (State Bar No. 083013) wa
MARCOS D. SASSO (State Bar No. 22890) Pa
RAYMOND A. GARCIA (State Bar No. 279884) !
2029 Century Park East |
Los Angeles, CA 90067-3086 f
Telephone: 310-556-5800

Facsimile: 310-556-5959

Email: lacalendar@stroock.com

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Attorneys for Defendant |
Citibank, N.A.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

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—_ ©

CRAIG SMITH, individually, andon ) Case No. SAC¥13- 00748 CIC (ANx)

behalf of a class similarly situated,
. NOTICE OF REMOVAL
Plaintiffs,
vs. 446 — Federal Question

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Ww & W bh

CITIBANK, N.A. a corporation doing
business in the State of California, Does

we Defendants. By Fax

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(Pursuant to 28 U.S.C. s§ 1331, 144100),

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2029 Century Park East

Los Angeles, California 90067-3086

STROOCK & STROOCK & LAVAN LLP
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# 8:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page 2o0f19 Page ID #:4

TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441(b), and
1446, defendant Citibank, N.A. (“Citibank”) hereby removes the action entitled
Craig Smith, et al. v. Citibank, N.A., et al., Superior Court of California, County of
Orange, Case No. 30-2013-00635152-CU-PO-CXC (the “Action”), to the United
States District Court for the Central District of California, on the following grounds:

 

1. Removal Is Timely. On February 27, 2013, plaintiff Craig Smith
(“Plaintiff”) filed the Action in the Superior Court of the State of California for the
County of Orange. A true and correct copy of the Complaint and Summons is
attached hereto as Exhibit A. Plaintiff effected service on Citibank on April 29, 2013
by way of a Notice of Acknowledgement of Receipt that was signed by Citibank’s
counsel on such date, a true and correct copy of which is attached hereto as Exhibit
B. Based on the foregoing, Citibank has timely filed this Notice of Removal within
thirty days of service of the Complaint. See 28 U.S.C. § 1446(b).

2. This Court Has Removal Jurisdiction Over This Action. This action is a
civil action of which this Court has original jurisdiction under 28 U.S.C. §1331, and

 

is one which may be removed to this Court by Citibank pursuant to the provisions of
28 U.S.C. §1441(a), in that Plaintiff asserts a claim against Citibank for violation of
the federal Telephone Consumer Protection Act, 47 U.S.C. §227 et seq. (“TCPA”).
The United States Supreme Court has confirmed that the TCPA’s permissive grant of
jurisdiction to state courts does not deprive the United States district courts of
federal-question jurisdiction over private TCPA suits, and that a TCPA claim, “in 28
U.S.C. §1331’s words plainly ‘aris[es] under’ the laws ... of the United States.’”
Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 748 (2012). To the extent any
other claims in this Action may arise under state law, supplemental jurisdiction over
such claims exists pursuant to 28 U.S.C. §§ 1367 and 1441(c).

 

 

 

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STROOCK & STROOCK & LAVAN LLP

2029 Century Park East
Los Angeles, California 90067-3086

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3. No Other Defendant’s Consent Is Required For Removal. Citibank is
the only named defendant in this Action, therefore, no other entities’ consent is
required for removal. Accordingly, the Action is properly removed pursuant to 28
U.S.C. § 1446(a) & (b).

4. Acopy of this Notice of Removal is being filed with the Superior Court

for the State of California for the County of Orange and concurrently served on
Plaintiff.

Dated: May 10, 2013 STROOCK & STROOCK & LAVAN LLP

JULIA B. STRICKLAND
MARCOS D. SASSO
RAYMOND A. GARCIA

By: LSS

Raymond A. Garcia

Attorneys for Defendant
Citibank, N.A.

LA 51639653

 
Case 8:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page 4of19 Page ID#:6

Exhibit A
Case 8:13-cv-00748-CJC-AN Document1 Filed 95/10/13 Page5of19 Page ID #:7

SUMMONS |

(CITACION JUDICIAL)
NOTICE TO-DEFENDANT:
(AVISO AL DEMANDADO):

CITIBANK, N.A. a corporation doing busingss j in the State of
California, Does | to 10

YOU ARE BEING SUED BY PLAINTIFF: /
(LO ESTA DEMANDANDO EL DEMANDANTE):

CRAIG SMITH. individually. and on behalf

 

02/27/2013 a 1:40.08.

Clerk df-the. Superior Court
By ime Cook,Deputy Clerk

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Case 8:13-cv-00748-CJC-AN Document 1. Filed prens Page 6 of 19 Page ID #8
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ast Broadway Suite .
h Calif Hifreda, 90802 ; aakeF2013 a 11:90:00
3 ) i oe eearier Court
3) 786-8396 fax ; fe Soak Dewy Clete
4 Wrmilier@warecllerlaw. com
5 Attorneys for Plaintiff
6 :
7 !
8 SUPERIOR COURT GF CALIFORNIA
10 » COMPLEX CENTER
11 | CRAIG SMITH, individually, a Ad | Case Nol! : 90-2019-D0695182:CU-PO-CXC
i2 || on behalf ofa ‘class. similarly { _ Judge Nanoy Wieben Stook
situated, Class}Action |
13 Plaintiffs, “ MELAINT THOR VYoLaTion OF
14 ab AL SENTHAL ACT
vs. DI iE ee
1S ~ |.
CITIBANK, N.A. a corporatior and for Jury Trial
16 || doin business ‘in the State of OT d of jury a
California, Does 1 to 10 KSivkkx Unlimited Civil
M7 Defendants
18
19
20 |/Plaintiff Craig Smith alleges: |
21 PREL aera |
22 {/1, Plaintiff Craig Smith (“$mith”),has a student loan with Citibank, N.A.
23 || (“Citibank”). In the spring of 3012, he fell behind on making his payments.
24 || Citibank called him on his cel] phone-in the morning on Saturday, May 26, 2012 |
25 |lin an attempt to collect a payment.
26 ||2. Smith silenced his cell phione and diff not answer thejtelephone call.
27 |) Citibank immediately called back and then Smith answered.
28

 

 

 

 

 

 
Case 8:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page 7of19 Page ID#:9

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{| individual joinder of all members is impra :

[have verbally requested that Citibank cease

 

 

3. Once he answered the telephone call}. Smith made it clear to the female
representative that he revokedjall consent'to-call him on his cell phone number, |
(949) 370-5893. He asked the representative whether she whs recording the call
and she replied, "Yes." |
4, Smith then asked her w
replied, "Yes."

 

 

ether she was using an auto dialer and she

 

5. Citibank called 20+ timeg from the aulto dialer during ithe next several

weeks including calling multiple times on Memorial Day héliday.

7. This action has been browght and mz y properly be maintained as a class

  
   
     
  

ctical under the dircumstances of this |
case. While the exact number pf class men bers is unknown to plaintiffs at this
time, plaintiffs are informed amd believe that many currentjand former debtors
é and desist making telephone calls to
their cell phones and Citibankicontinued tp-call the debtors| cell phones during
the period covered by this action; 2 .
B. COMMON QUESTIONS PREDOMINATE: Common
i bers of the plaintiff class and

predominate over any questions that affect

questions of law and fact exist/as to.all me

only individual members of the class,

The common questions of lawjand fact inglude, but are notilimited to:

 

 

 
Case 8:13-cv-00748-CJC-AN Document1 File

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interests of the members of tha

|jengender. Furthermore, as the

 

i. | Whether defendanjs violated i TCPA by continuing to calla
debtors’ cell phone after verbal noticeto stop doing $0;

C.  TYPICALITY:

class members. Plaintiffs and t

phones after requested to stop

D. ADEQUACY:

E. SUPERIORIT

means for the fair and efficient

joinder of all members of the c

claims in a single forum simul

duplication of effort and exper

 

the class may be relatively small, the expense
litigation would make it difficwlt or impossible for individual members of the

|class to redress the wrongs done to. them, W

be served by addressing the
of adjudication of such individ
for inconsistent or contradicto
F. PUBLIC POU
throughout the state violate th
verbal cease and desist, wench

cannot afford to retain legal cd

lhe member of the class sustained damages

mon practi¢p'of continuing to call-debtors’ cell
such phone
jmembers, are entitled to $500 per unauthe:

class. Plaisitiff’s counsel has
| Plaintiff's in multiple class actions suits. Plaintiff has:no interest that is adverse
|ito the interests of the other clags members;
YY: A class ation is superior.
adjudication
lass is impractical; class action treatment will
|permit a large number of similh
aneously, efficiently, and without the unnecessary,
se. that nuff |

damages s

(1 05/10/13 Page 8 of 19 Page ID #:10

Plaintiffs’ claims are typical of the claims of the

calls. Plaintiff, like the other Class
Fized phone call per statute;

 

Plaintiff will fairly and adequately protect the

 
 
 
   
 

represented

to other available

of this controversy since individual

 

rly situatéd persons to prosbcute their common
erous individual actions would
uffered by each individual member of
s and burden of individual

while an important public interest will’
tter as a class action. The cost to the court system

 

 

 
Case 8:13-cv-00748-CJC-AN Document1 File

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rsuch agency or employment.

} 12.

inevitably in financial distress.
not named on the Complaint with.a reme
{| rights;
8. ‘Plaintiff is a natural ee

State of California and is oblig

considered a “consumer debt”

1/§1788.2(f).

9. Defendant Citibank, N.Ai
County, California. Defendant

of business, regularly, on beha

§1788.2(c).
10. Defendants Does 1 to 10:
presently unknown to Plaintifi

Complaint to state the true na
defendants when ascertained.
At all times mentioned

of each of the other Defendan

Plaintiff.

in controversy exceeds $10,00€
13.
14,

Plaintiff was damaged ir

‘aré persons jor entities; t

   

The Superior Court has the jurisdicti

J 05/10/13 Page 9 of 19 Page ID #:11

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r that allows for} vindication of their

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Class actie

 

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over the age of 18 residing in Orange County,
ted or allegedly obligate td pay.a debt which is |
as that term/is defined by| California Civil Code
i

  
 
 
  
 
 

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- is a corpofation doing business in Orange
is a “debt collector” since inthe ordinary course |

f of himselffor herselfor gthérs, engages in

|jcollection of consumer debts ag that term ig defined by California Civil Code

ie names and capacities
s ied by such fictitious
and thereon son that each named
all of the wrongful acts he herein, is

 

nerefore are

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es and capaci

rein, each Defendant ab the agent or employee
and was a¢ting within the dourse and scope of |
The Defendants are jointly and severally liable to

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n over this matter since the amount
00 and plaintiff seeks injunctive relief.

} California and ee is established.

Venue is proper in Orange County ‘where Plaintiff was damaged.

 

 

 

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Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page.10 of 19 Page ID #:12
of FIRST CAUSEQF ACTION
2 (Against All Defendants for Negligent Infliction of Emotional Distress)
3 15. Plaintiff realleges and nea erein by reference each and every
4 |)paragraph set forth above. :
5 4/16. Defendants were negligent.
6 ||17. Plaintiff suffered severe ¢motional distress.
7 18. Defendants’ conduct vad a substantial factor in, causing Plaintiff's
8 jlemotional distress. |
9 SECOND CAUSE OF ACTION
10 || (Against All Defendants For|Violations of the Rosenthal Fair Debt Collection
ll Practices act, Civil Cad e§ 1788 et. seq:)
12 |/19. Plaintiff realleges and in¢orporates herein by réference each and every
13 || paragraph set forth above. | :
14 |120. The Rosenthal Fair Debt Collection Hractices Act, Civil Code§ 1788 et seq. {
16 ||the “RFDCPA” ) was enacted i 1976 to ensure the iritegrity of our banking and
16 |\credit industry. Civil Code § 1788.1(b) . T je Legislature found that “unfair or
‘17 ||deceptive debt collection practices undermined public confidence which is
118 |Jessential to the continued fund tioning of tk ¢ banking:and ctedit system and
19 ||sound extensions of credit.” Civil Code §|1788.1(a)(2).
20 21. Defendants violated the provisions af Civil Code § 1788.17 by having
‘21 |] violated 15 U.S.C. §1692e and 15 U.S.C. §1692f as reférenced by the RFDCPA.
22 ||22. Asa proximate result of Defendant violations enumerated above,
23 Plaintiff has been damaged in amounts wh ich are subject to proof, and is entitled
24 ||to collect such actual damages: enk
25 |123. Defendants’ violation of
26 jjentitling Plaintiff to statutory |
27 |/24. Plaintiff is entitled to rec
28 |Ito Civil Code § 1788.30(c).

 

 

 

 

 

 
Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page.11o0f19 Page ID #:13

   
   
  

 

 

1 THIRD CAUSE QF ACTION |
2 || (Against All Defendants For Violations o ; the Telephone Consumer Protection |
3 Act of 1 1 )
4 ||25. Plaintiff realleges and ingorporates herein by reference each and every
S || paragraph set forth above.
6 |126. 47 U.S.C. §227 of the TCBA provides that it shall be unlawful for any
7 ||person to (1) make any call to 4 person on his cell phone using an autodialer in
8 {| which (2) he is charged for such call other than for (3) emergency purposes or (4)
9 || without prior express consent.
10 ||27, Defendant called Plaintiff on his cell phone using an gutodialer.
11 1128, Plaintiff was charged forjthese calls. |
12 ||29. Defendant did not call for an emergency. |
13 ||30. Plaintiff does not recall gt ving express corisent to receive phone calls on his|
14 || cell phone. However, if express consent had been given, Plaintiff rescinded such
15 j}consent verbally on May 26, 2G12.
16 {}31. Defendant called Plaintiff in excess of 20 times without authorization after
17 ||consent was rescinded.
18 ||32. Plaintiff prays for damages in the artjount of $500 per'unauthorized
19 |}telephone call made using such autodialer. . :
20 JURY TRIAL DEMAND
21 Plaintiffs hereby demand trial by jury in the above causes.
22 . 3
23
24 | of the general public similarly
2s jl.
26 {2
27 |\3.
28 ||4

 

 

 

 

 
Case 8:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page.12 of 19

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5. For costs of suit;

February 27, 2013

6. For reasonable attorneys’
7. For such other relief thatithe:

  
 

 

Attomey for Plaintiff

Page ID #:14

 

 

 

 

 

 
Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 13 0f 19 Page ID #:15

Exhibit B
Case 8:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page 14 o0f19 Page ID #:16
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at i. IN: 208980. | 208980

cw scree;
ATTORNEY FOR (Nemek: Pisintif’s Smith, individually and on: behalf of others

 

 

  

 

  

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PLAINTRFIPETIIONER: Sith, ef. a: | .

DEFENDANTIRESPONDENT: Citibank, NAL

NOTIGE AND ACKNOWLEDGMENT OF: RECEIPT. CIVIL. 34201 300635 152CUPOCXC

TO (insert name of party being mot in a - : =f

NOTICE :
The summons and other documents identified belowjere being served purstiant to section 415.30}of the California Code of Civil

Procedure. Your failure to complete this form and It within 20 dayss.from the:date of mafiiag below may subject you

(or the party on whose behalf you-are being served) (0 ilabiity for the payment of any expenses in in serving a summons
on you in any other manner orate by law.

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team aunt be fits ah ecithy 0 | to rective of process on behalf of such

 

 

 

 

 

 

 

 

     
 
 
 

 

 

 

 

Date of mailing: all 1/2013
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ACK eign
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1. £22) Acopy ofthe. summons and of the.coms

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Dete this form is signed: 4/29/2013
Marcos D. Sasso
Stroock & Stroock & Lavan LLP ,

 
   

 

“ON WHOSE BEHALE THES FORM IS SIGHED)”
Counsel for Defendant

Gitibank, N.A. ob, Page tort
Sea, NOTICE AND AGHNOWLEDOMENT OF REGEIPT — CIVIL apes 7

 

 

 

 
STROOCK & STROOCK & LAVAN LLP

Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 15 o0f19 Page ID #:17

2029 Century Park East
Los Angeles, California 90067-3086

0 oY A A & WN

west

PROOF OF SERVICE
STATE OF CALIFORNIA )

) ss
COUNTY OF LOS ANGELES)

Tam employed in the County of Los Angeles, State of California, over the age of eighteen
years, and not a party to the within action. My business address is: 2029 Century Park East, Los
Angeles, CA 90067-3086.

On April 29, 2013, I served the foregoing document(s) described as: NOTICE AND
ACKNOWLEDGMENT OF RECEIPT- CIVIL on the interested parties in this action as
‘ollows:
Wade A. Miller
Wade Miller Law
235 E Broadway, Suite 424 ~
Long Beach, CA 90802

ol (VIA PERSONAL SERVICE By causing the document(s), in a sealed envelope, to
be delivered to the person(s) at the address(es) set forth above.

(VIA U.S. MAIL) In accordance with the re mailing collection and processing
practices of this office, with which I am ily familiar, by means of which mail is
deposited with the United States Postal Service at Los Angeles, California that same
day in the ordinary course of business, I deposited such sealed envelope, with postage
thereon fully prepaid, for collection and mailing on this same date following ordinary
business practices, addressed as set forth above.

Cl (VIA E-MAIL) Based on a court order or an agreement of the parties to accept
service by e-mail, I caused the documents to be sent to the persons at the e-mail
addresses listed in the attached Service List.

CT (VIA FACSIMILE) By causing such document to be delivered to the office of the
addressee via facsimile.

(VIA OVERNIGHT DELIVERY) By causing the document(s), in a sealed
O envelope, to be delivered to the office of the addressee(s) at the address(es) set forth

above by overnight delivery via Federal Express, or by a similar overnight delivery
service.

I declare that I am employed in the office of a member of the bar of this court, at whose
direction the service was made.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

Executed on April 29, 2013, at Los Angeles, California.

 

Regina Harcourt
[Type or Print Name] ignature]

 

 

 

PROOF OF SERVICE

LA 51645889

 
Case

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s:13-cv-00748-CJC-AN Document1 Filed 05/10/13 Page 16 of 19 Page ID #:18

PROOF OF SERVICE
STATE OF CALIFORNIA
Ss
COUNTY OF LOS
ANGELES

I am employed in the County of Los Angeles, State of California, over the age of eighteen
years, and not a party to the within action. My business address is: 2029 Century Park East, Los
Angeles, CA 90067-3086.

On May 10, 2013, I served the foregoing document(s) described as: NOTICE OF
REMOVAL on the interested parties in this action as follows:

Wade A. Miller

Wade Miller Law

235 E Broadway, Suite 424
Long Beach, CA 90802

0 (VIA PERSONAL SERVICE By causing the document(s), in a sealed envelope, to
be delivered to the person(s) at the address(es) set forth above.
(VIA U.S. MAIL) In accordance with the regular mailing collection and processing

practices of this office, with which I am readily familiar, by means of which mail is
deposited with the United States Postal Service at Los Angeles, California that same
day in the ordinary course of business, I deposited such sealed envelope, with postage
thereon fully prepaid, for collection and mailing on this same date following ordinary
business practices, addressed as set forth above.

oO (VIA E-MAIL) Based on a court order or an agreement of the parties to accept
service by e-mail, I caused the documents to be sent to the persons at the e-mail
addresses listed in the attached Service List.

CI (VIA FACSIMILE) By causing such document to be delivered to the office of the

addressee via facsimile.

0 (VIA OVERNIGHT DELIVERY) By causing the document(s), in a sealed
envelope, to be delivered to the office of the addressee(s) at the address(es) set forth
above by overnight delivery via Federal Express, or by a similar overnight delivery
service.

I declare that I am employed in the office of a member of the bar of this court, at whose
direction the service was made.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

Executed on May 10, 2013, at Los Angeles, California.

Robin Bram

 

 

[Type or Print Name] {Signature]

 

 

LA 51639653

 
Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 17 of 19 Page ID #:19

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Cormac J. Carney and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

SACV13- 748 CJC (ANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[L_] Western Division LJ Southern Division LJ Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St, Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 18 0f 19 Page ID #:20

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

 

CIViL COVER SHEET

1. (a) PLAINTIFFS ( Check box if you are representing yourself [J] ) DEFENDANTS —( Check box if you are representing yourself [7] )
CRAIG SMITH, individually, and on behalf of a ciass similarly situated CIBANK, N.A, a corporation doing business in the State of California, Does 1 to 16
(b) Attomeys (Firrn Name, Address and Telephone Number. If you (b) Attorneys (Firm Name, Address and Telephone Number. If you

are representing yourself, provide sare.) ate representing yourself, provide same.)

Wade A. Miler Julia B. Stricidand/Marcos D. Sasso/Raymond A. Garcia

Wade Miller Law Stroock & Stroock & Lavan LLP

235 East Broadway, Suite 424 2029 Century Park East

Long Beach, CA 90602; Tel: 562-437-6300 Los Angeles, CA 90067; Tek 310-556-5800

 

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i. BASIS OF JURISDICTION (Place an Xin one box only.) TLZENSHIP OF PRINC MATT TES For Obes roby Cases Only

 

 

 

 

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CO Defendant O of Parties in item Ii) Foreign Country O03 D3 Foreign Nation o¢e6qd6 “Stay
ra MORE BPitene
IV. ORIGIN (Place an X in one box only.) Ontrke & oO District Z
oO 1. Original A] 2. Removed from oO 3. Remanded from oO 4, Reinstated or pect Litigation a
Proceeding State Court Appellate Court Reopened ¢: i
V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No (Check “Yes* only if demanded in complaint.) ee
CLASS ACTION under F.R.Cv.P. 23: Bi]Yes [[]No ((] MONEY DEMANDED IN COMPLAINT: $

 

‘Vi. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Telephone Consumer Protection Act, 47 U.S.C. § 227 (TCPA’). Plaintiff alleges that he received calls to his cet! phone allegedly in violation of the TCPA,

 

Vil. NATURE OF SUIT (Place an X in one box only). eras

 

 

 

 

 

 

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FOR OFFICE USE ONLY: Case Number: 9748-CIC (A Nx)

AFTER COMPLETING PAGE 1 OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED ON PAGE 2.

Cv-71 (02/13) CIVIL COVER SHEET Page 1 of 2
Case 8:13-cv-00748-CJC-AN Document 1 Filed 05/10/13 Page 19 0f19 Page ID #:21
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
Vili(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO C] Yes
If yes, list case number(s):
Vill{b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO CO Yes

if yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) [[) A. Arise from the same or closely related transactions, happenings, or events; or

[_] 8. Cail for determination of the same or substantially related or similar questions of law and fact; or
[1] C For other reasons would entail substantial duplication of labor if heard by different judges; or

Cj D. Involve the same patent, trademark or copyright. and one of the factors identified above ina, b or calso is present.
IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH named
plaintiff resides.

(J Check here if the government, its agencles or employees is a named plaintiff. if this box is checked, go to Item (b).

California County outside of this District; State, If other than California; or Foreign
County in this District:* Country
Orange

 

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.

[] Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (0).

County in this District:* Cour ® County outsce ofthis District State, M other than California o Foreign

South Dakota

 

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: in land condemnation cases, use the location of the tract of land involved.

California County outside of this District; State, if other than California; or Foreign
County in this District:* Country

 

 

Orange

 

 

 

“Los Angeles, Orange, San Sernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR SELF-REPRESENTED LITIGANT): cee CTE May 10, 2013

Notice to Counsal/Parties: The CV-71 ()5-44) Civil Cover Sheet and the information contained herein neither hor supplement the filing and service of pleadings or
papers as by law. This form, approved by the Judicial Conference of the United States in 1974, is required pursuant to Local Rule 3-1 is not
but is used by the Gerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

Key to Statistical codes relating to Social Security Cases:

Nature of Sut Code Abbreviation Substantive Statement of Cause of Action
Ail claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
861 HIA include claims by hospitals, skilled nursing facilities, etc, for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL a Sains for "Black Lung" benefits under Title 4, Part 8, of the Federal Coal Mine Health and Safety Act of 1969, (30 U.S.C.
863 DIWwC All claims filed by insured workers for disability Insurance benefits under Title 2 of the Social Security Act, as amended; plus
ail claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 Diww All claims filed for widows or widowers Insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
864 sSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
865 RSI All claims for retirement (old age} and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g)}

 

V-71 (02/13) CIVIL COVER SHEET Page 2 of 2

 

 
